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                                                            U.S. Department of Justice


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                                                            September 3, 2019
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   ByECF

   Honorable William F. Kuntz, 11
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

                   Re:     Sagel, et al., v. Trump, et al., CV-18-1599 (Kuntz, J.) (Tiscione, M.J.)

   Dear Judge Kuntz:

            In light of Plaintiffs' Fed. R. Civ. R. 62. I motion (0kt. No. 158), and the Court's denial of
   that motion earlier today, the undersigned Assistant U.S. Attorneys respectfully request-out of
   an abundance of caution-leave to supplement the Government's prior in camera production of
   documents to the Court. In the context of litigating cases nationally involving challenges to
   Temporary Protected Status ("TPS") determinations, 1 the Government recently learned that a
   limited set of its prior document productions inadvertently did not properly display tracked
   changes and/or comment bubbles. Upon learning of this technical oversight, the undersigned
   immediately informed Plaintiffs' counsel in Sagel and expeditiously worked to assess its impact
   on the present litigation. Since July 11, 2019, on a rolling basis, the Government has produced to
   Plaintiffs records that now display the track changes and/or comment bubbles. During the course
   of its assessment, the Government learned that a subset of documents were previously produced
   to the Court in camera only without visible track changes and/or comment bubbles. While· the
   Court has already reviewed these underlying documents, other than the tracked changes and/or
   comments bubbles, to evaluate the Government's assertion of the deliberative process privilege
   ("OPP"), the Government is prepared to submit again this subset of documents-now displaying
   the visible track changes and/or comment bubbles-for the Court's in camera review only. The
   Government respectfully notes that none of these documents were referenced by the Court in its
   April I l, 20 I 9 decision or admitted into evidence. See Sagel v. Trump, 375 F. Supp. 3d 280, 340
   (E.D.N.Y. 2019). The Government apologizes for this technical oversight.

           By way of background, pursuant to the Court's August 21, 2018 order, the Government

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              Federal cases involving challenges to TPS determinations include: Ramos, et al., v. Nielsen, et
   al., 18-16981 (9th Cir.); NAACP v. DHS, et al., 18-CV-239 (D. Md.); Casa de Maryland, et al., v. Trump,
   et al., 18-CV-845 (D. Md.); Centro Presente, et al., v. Trump, et al., 18-CV-10340 (D. Massachusetts); and
   Bhattarai, et al., v. Nielsen, et al., l 9-CV-731 (N .D. Cal.).
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   produced to Plaintiffs thousands of documents that were already produced, collectively, in Ramos
   v. Nielsen, No. l 8-CV-1554 (N .D. Cal.) and Centro Presente v. Trump, No. 18-cv-10340 (D.
   Mass.), as well as deposition transcripts of individuals deposed in the Ramos matter. On November
   21, 2018, the Court granted Plaintiffs' request to seek additional discovery. See 0kt. No. 77. The
   Government complied with the Court's order. On December 17, 2018, Plaintiffs moved to compel,
   among other things, in camera review of the documents on the Government's privilege log, all of
   which relate to the Government's assertion of OPP in document productions. See ECF No. 98
   (Plaintiffs' motion); see ECF No. 99 (Government's opposition). In an ECF entry, issued on
   December 19, 2018, the Court ordered that "[a]ll documents requiring in camera review are to be
   submitted directly to the District Court for my review." On December 21, 2018, the Government
   produced to the Court, for in camera review, three DVDs containing documents withheld solely
   on OPP grounds and a corresponding privilege log. The documents were assigned control numbers
   from PrivWithheld_0000000l through PrivWithheld_00021306, and were comprised of 3,589
   documents and total 21,306 pages. 2

            On April 11, 2019, the Court issued a decision enJommg the Government "from
   terminating TPS status for Haiti, pending a final decision on the merits of this case. The
   preliminary injunction shall take effect immediately and shall remain in effect pending resolution
   of this case on the merits or further order of this Court." Saget v. Trump, 375 F. Supp. 3d 280, 379
   (E.D.N.Y. 2019) (referred to as the "Decision"). In the Decision, the Court stated that, "[w]ith
   respect to Defendants' privilege assertions, the Court has carefully reviewed Defendants'
   substantial privilege log in camera" and "admits only the privilege-log documents cited in this
   opinion." Id. at 340. On June 6, 2019, the Government filed a notice of appeal of the Court's
   April 11, 2019 Decision. See Dkt. No. 157. The Government's appellate brief is due to be filed
   at the U.S. Court of Appeals for the Second Circuit on or before September 19.

           During the week of July 8, 2019, the Government learned that certain underlying
   documents previously produced in multiple cases nationally challenging revocations of TPS
   determinations, including Saget, did not have track changes or comments bubbles in a visible form.
   Following further review, on July 11, 2019, the undersigned informed Plaintiffs of this
   development. Over the next several weeks, the Government worked to isolate the documents
   impacted in Sagel and, on a rolling basis, produced updated versions of the documents at issue and
   corresponding privilege logs. The underlying documents had previously been produced to
   Plaintiffs during discovery; the more recent post-Decision productions, however, now display the
   track changes or comment bubbles not previously visible in the underlying documents and/or
   address those track changes or comment bubbles in privilege logs. As of August 16, 2019, the
   Government provided Plaintiffs with the full set of previously-produced Saget documents-now
   featuring all of the recently identified track changes and/or comment bubbles subject to necessary
   redactions-along with corresponding privilege logs and comparison charts. None of the
   information in these recently-produced documents were withheld under the deliberative process
   privilege.

         The Government also informed Plaintiffs that it was reviewing approximately 500
   documents previously produced in camera only to your Honor that were recently identified as also

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              The Government produced over 34,000 pages to Plaintiffs in Sagel.



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   featuring track changes and/or comment bubbles. None of these approximately 500 documents
   were referenced in the April 11, 2019 Decision as having been admitted into evidence. See Sagel,
   375 F. Supp. 3d at 340.

           Out of an abundance of caution, and should the Court so order, the Government
   respectfully submits that it can be prepared to submit these approximately 500 documents that
   contain track changes and/or bubbles to your Honor by the end of this week for in camera review.

          The Government thanks the Court for its consideration of this matter.

                                                       Respectfully submitted,

                                                       RICHARD P. DONOGHUE
                                                       United States Attorney

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   cc:    BY E.C.F.
          Counsel of Record (w/o enclosure)




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                                    William F. Kuntz, II, U.S.D.J. /Q
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                                           Brooklyn, New York




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